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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

__________________________________________
                                                 )
JOHN DOE,                                        )
                                                 )
            Plaintiff,                           )
                                                 )
v.                                               )                  Case No. 24-617 (TJK)
                                                 )
UNITED STATES IMMIGRATION                        )
AND CUSTOMS ENFORCEMENT,                        )
                                                 )
                                                 )
            Defendant.                           )
                                                 )
_______________________________________________ )

                        DECLARATION OF FERNANDO PINEIRO

I, Fernando Pineiro, pursuant to 28 U.S.C. § 1746, hereby declare as follows:

         1.    I am the FOIA Director of the U.S. Immigration and Customs Enforcement (“ICE”)
Freedom of Information Act (“FOIA”) Office. I have held this position since August 14, 2022, and
I am the ICE official immediately responsible for supervising ICE responses to requests for records
under the Freedom of Information Act, 5 U.S.C § 552 (the FOIA), the Privacy Act, 5 U.S.C. §
552a (the Privacy Act), and other applicable records access statutes and regulations. Prior to this
position, I was the Deputy FOIA Officer of the ICE FOIA Office from December 29, 2013, to
August 13, 2022, and prior to that I was the FOIA Officer for three years at the Office for Civil
Rights and Civil Liberties (“CRCL”) at the U.S. Department of Homeland Security (“DHS”). The
ICE FOIA office mailing address is 500 12th Street, S.W., STOP 5009, Washington, D.C. 20536-
5009.

         2.    As the FOIA Director my official duties and responsibilities include the general
management, oversight, and supervision of the ICE FOIA Office regarding the processing of
FOIA, 5 U.S.C. § 552, and Privacy Act, 5 U.S.C. § 552a, requests received at ICE. In connection

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with my official duties and responsibilities, I am familiar with ICE’s procedures for responding to
requests for information pursuant to the FOIA and the Privacy Act.

       3.      I make this declaration in support of ICE’s Motion for Summary Judgment in the
above-captioned action. The statements contained in this declaration are based upon my personal
knowledge, my review of documents kept by ICE in the ordinary course of business, and
information provided to me by other ICE employees in the course of my official duties.

       4.      This declaration provides a description of how ICE received Plaintiff’s FOIA
request, how ICE searched for and processed records in response to Plaintiff’s FOIA requests, and
how ICE disclosed records located in response to Plaintiff’s FOIA requests.

       5.      In addition, in accordance with the requirements set forth in Vaughn v. Rosen, 484
F.2d 820 (D.C. Cir. 1973), this declaration explains the basis for withholding portions of the
requested information pursuant to FOIA Exemption (b)(5) and (b)(7)(E). ICE’s Vaughn Index is
attached hereto as Attachment A.

            I. PROCEDURAL HISTORY OF THE PLAINTIFF’S FOIA REQUESTS AND
                                THE INSTANT LITIGATION

       6.      This suit stems from a FOIA request Plaintiff sent to ICE on October 12, 2023.
The request sought records relating to ICE’s inadvertent disclosures, specifically regarding the
identities of the third parties to whom ICE disclosed information regarding Plaintiff’s asylum
claim. A true and complete copy of Plaintiff’s FOIA Requests to ICE are attached hereto
as Attachment B.

       7.      On October 18, 2023, the ICE FOIA Office acknowledged receipt of Plaintiff’s
FOIA request and directed Plaintiff to resubmit the FOIA request with a reasonable description
of the records Plaintiff sought. The ICE FOIA Office assigned Plaintiff’s FOIA request case
number 2024-ICFO-01546. A true and complete copy of ICE’s October 18, 2023 letter is
attached hereto as Attachment C.

       8.      On November 16, 2023, Plaintiff sent ICE an updated FOIA request.


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         9.    On November 17, 2023, the ICE FOIA office acknowledged the receipt of
Plaintiff’s FOIA Request. A true and complete copy of ICE’s October 18, 2023, letter is
attached hereto as Attachment D.

         10.   On November 21, 2023, the ICE FOIA Office tasked ICE’s Office of the
Principal Legal Advisor (OPLA), Office of Enforcement and Removal Operations (ERO), Office
of Professional Responsibility (OPR), Office of Information Governance and Privacy (IGP), and
Office of the Chief Information Officer (OCIO) with searching for any records potentially
responsive to Plaintiff’s FOIA request.

         11.   On December 13, 2023, Plaintiff sent ICE an email to follow up on the status of
Plaintiff’s FOIA request. The ICE FOIA Office responded by email dated December 21, 2023
stating the “expedited decision was denied on 11/12/2023” and that ICE components have been
tasked to search for responsive records. A true and complete copy of ICE’s December 21,
2023 email is attached hereto as Attachment E.

         12.   On March 8, 2024, not having received a final response from ICE, Plaintiff filed a
Complaint. Plaintiff also filed a Motion for a Temporary Restraining Order (TRO) on March 8,
2024.

         13.   On March 13, 2024, Defendant’s Memorandum in Opposition to Plaintiff’s
Motion for a TRO was filed.

         14.   On March 14, 2024, the ICE FOIA Office sent Plaintiff a final response letter,
releasing in part 294 pages responsive to Plaintiff’s FOIA request. A true and complete copy of
the March 14, 2024 letter is attached as Exhibit F. Plaintiff’s Motion for a TRO was
dismissed for mootness.

  II. ICE’S STANDARD PROCEDURE FOR INITIATING SEARCHES IN RESPONSE
                                          TO FOIA REQUESTS

         15.   When the ICE FOIA Office receives a FOIA request, the intake staff evaluates it to
determine if it is a proper FOIA request per DHS FOIA regulation 6 C.F.R. § 5.3. Generally, a


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FOIA request is considered proper and in compliance with DHS regulations if it reasonably
describes the records sought and the records are under the purview of ICE.

       16.     Proper FOIA requests are entered into a database known as Secure Release and
assigned a case tracking number. Based upon the requestor’s description of the records being
sought and ICE FOIA’s knowledge of the various program offices’ missions, the ICE FOIA Office
identifies the program office(s) likely to possess responsive records and tasks the appropriate
program office(s) to conduct the necessary searches.

       17.     ICE records are maintained by leadership offices and/or within ICE directorates,
including but not limited to, the Office of Public Affairs, the Office of Enforcement and Removal
Operations (ERO), the Office of Professional Responsibility (OPR), the ICE FOIA Office, the
Office of the Director, the Office of the Principal Legal Advisor (OPLA), and the Chief Financial
Officer (CFO). The program offices are typically staffed with a designated point of contact (POC)
who is the primary person responsible for communications between that program office and the
ICE FOIA Office. Each POC is a person with detailed knowledge about the operations of his/her
respective program office.

       18.     Upon receipt of a proper FOIA request, the ICE FOIA Office will identify which
program offices, based upon their experience and knowledge of ICE’s program offices, within ICE
are reasonably likely to possess records responsive to that request, if any, and task the relevant
program offices with searches. Once the ICE FOIA Office determines the appropriate program
offices for a given request, it provides the POCs within each of those program offices with a copy
of the FOIA request and instructs them to conduct a search for responsive records. The POCs then
review the FOIA request, along with any case-specific instructions that may have been provided
and based on their experience and knowledge of their program office practices and activities,
forward the request and instructions to the individual employee(s) or component office(s) within
the program office that they believe are reasonably likely to have responsive records, if any. In
conformity with the ICE FOIA Office’s instructions, the individuals and component offices are
directed to conduct searches of their file systems, including both paper files and electronic files,
which in their judgment, based on their knowledge of the manner in which they routinely keep
records, are reasonably likely to contain responsive documents. Once those searches are

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completed, the individuals and component offices provide any potentially responsive records to
their program office’s POC, who in turn, provides the records to the ICE FOIA Office. The ICE
FOIA Office then reviews the collected records for responsiveness and the application of
appropriate FOIA Exemptions.

       19.     ICE employees maintain records in several ways. ICE program offices use various
systems to maintain records, such as investigative files, records regarding the operation of ICE
programs, and administrative records. ICE employees may store electronic records on their
individual computer hard drives, their program office’s shared drive (if the office uses one), DVDs,
CDs, and/or USB storage devices. The determination of whether or not these electronic locations
must be searched in response to a particular FOIA tasking, as well as how to conduct any necessary
searches, is necessarily based on the manner in which the employee maintains his/her files.

       20.     Additionally, all ICE employees have access to e-mail. ICE uses the Microsoft
Outlook e-mail system. Each ICE employee stores his/her files in the way that works best for that
particular employee. ICE employees use various methods to store their Microsoft Outlook e-mail
files - some archive their files monthly, without separating by subject; others archive their e-mail
by topic or by program; still others may create PST files of their emails and store them on their
hard drive or shared drive.

       21.     Records received by the ICE FOIA Office from the program office POCs are
assigned to a FOIA processor who determines whether or not the records are responsive to the
FOIA request. If the records are responsive, the FOIA processor will redact information pursuant
to the FOIA or Privacy Act, as appropriate, while simultaneously ensuring that all reasonably
segregable non-exempt information is released.

       22.     Frequently, the ICE FOIA Office must coordinate between multiple program
offices to ensure the program office records are properly redacted and information is correctly
segregated. Once the ICE FOIA Office completes its coordination efforts and all responsive
records have been processed, the ICE FOIA Office releases the responsive records to the requestor.

   III. DESCRIPTION OF PROGRAM OFFICES TASKED WITH SEARCHING FOR
                  RECORDS IN RESPONSE TO PLAINTIFF’S FOIA REQUEST

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       23.     ICE is the principal investigative arm of DHS and the second largest investigative
agency in the federal government. Created in 2003 through a merger of the investigative and
interior enforcement elements of the U.S. Customs Service and the Immigration and Naturalization
Service, ICE now employs more than 20,000 people in offices in every state and in 48 foreign
countries.

       24.     After reviewing the FOIA request, the ICE FOIA Office determined that because
of the subject matter of Plaintiff’s FOIA Request, OPLA, ERO, OPR, IGP, and OCIO, were the
program offices likely to have responsive records (if such records existed). Therefore, based on
their subject matter expertise and knowledge of the agency record systems, the ICE FOIA Office
instructed these program offices to conduct a comprehensive search for records and to provide all
potentially responsive records located during that search to the ICE FOIA Office for review and
processing. Please note, IGP and OPR responded to the ICE FOIA Office that they would not have
responsive records. OCIO also declined to search since ERO and OPLA were tasked to search.
Accordingly, and based on the information described below, all locations likely to contain records
responsive to Plaintiff’s FOIA Requests (to the extent that they exist within ICE’s custody) were
searched.

                     OPLA’s Search In Response to Plaintiff’s FOIA Requests

       25.     ICE Office of the Principal Legal Advisor (“OPLA”) is the largest legal program
in DHS, with over 1,100 attorneys and 350 support personnel. By statute, OPLA serves as the
exclusive representative of DHS in immigration removal proceedings before the Executive Office
for Immigration Review, litigating all removal cases including those against criminal aliens,
terrorists, and human rights abusers. OPLA also provides a full range of legal services to ICE
programs and offices. OPLA provides legal advice and prudential counsel to ICE personnel on
their customs, criminal, and immigration law enforcement authorities, the Freedom of Information
Act and Privacy Act, ethics, legal liability under the Federal Tort Claims Act, and a range of
administrative law issues, such as contract, fiscal, and employment law. OPLA represents the
agency before the Merit Systems Protection Board, the Equal Employment Opportunity
Commission, and the Board of Contract Appeals. OPLA attorneys provide essential support to the



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Department of Justice in the prosecution of ICE cases and in the defense of ICE’s authorities in
federal court.

        26.      On November 21, 2023, the ICE FOIA Office tasked OPLA to conduct a
comprehensive search for records and to provide all records located during that search to the ICE
FOIA Office for review and processing.

        27.      In response to the FOIA tasking, the OPLA FOIA POC reviewed the substance of
the FOIA request and relying upon her subject matter expertise and knowledge of OPLA’s
activities, determined that three OPLA divisions, Field Legal Operations (FLO); Immigration and
Law Practice Division (ILPD); and Enforcement and Removal Operations Law Division
(EROLD), should be tasked to search for potentially responsive records.

        28.      FLO is OPLA’s largest component and includes the 25 field locations across the
United States. Each OPLA field location is led by a Chief Counsel, who guides DHS’s advocacy
before the local immigration courts and the Board of Immigration Appeals. FLO also provides a
full suite of legal services, including customs law and employment law advice, to the local ERO
Field Office and HSI Office of the Special Agent in Charge. FLO was tasked to search for records
because the inadvertent disclosure of Plaintiff’s information was made by the field. Between
November 27 and December 7, 2023, six Assistant Chef Counsels (ACC) from OPLA New York
Field Office and OPLA Buffalo (Batavia) Field Office, conducted manual searches of their
computer files and Microsoft Outlook e-mail accounts, by using the search terms, Mr. Doe’s name
and A-Number. ACCs are responsible for representing the agency in immigration court and
immigration proceedings. In addition, one Deputy Chief Counsel (DCC), OPLA New York Field
Office, and one Chief Counsel, OPLA New York Field Office, conducted searches of their
computer files and Outlook email accounts by using the search terms, Mr. Doe’s name and A-
Number. All potentially responsive records collected by FLO were returned to the OPLA FOIA
POC.

        29.      The mission of ILPD is to promote integrity in immigration law by zealously
advocating on ICE’s behalf in appellate proceedings before the BIA and the Attorney General,
ensuring consistency in OPLA’s litigating positions before the nation’s immigration courts,


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guiding the development of federal court decisional law, and providing expert counsel on issues
of substantive immigration law and protection law matters. Between November 27 and December
7, 2023, two Associate Legal Advisors (ALA) conducted manual searches of their computer files
and Microsoft Outlook e-mail accounts, by using the search terms, Mr. Doe’s name and A-
Number. All potentially responsive records collected by ILPD were returned to the OPLA FOIA
POC.

        30.    EROLD provides timely, accurate, and comprehensive legal advice and operational
guidance to agency personnel in furtherance of ICE’s immigration enforcement and public safety
missions. On November 21, 2023, an Associate Legal Advisors (ALA) conducted a manual search
of their computer files and Microsoft Outlook e-mail account, by using the search terms, Mr. Doe’s
name and A-Number. All potentially responsive records collected by EROLD were returned to the
OPLA FOIA POC.

        31.    The eleven OPLA attorneys located approximately 1,453 pages of potentially
responsive records, which were provided by the OPLA FOIA POC to ICE FOIA on January 5,
2024. The responsive records were then produced to Plaintiff in the final production dated March
14, 2024.

                       ERO’s Search In Response to Plaintiff’s FOIA Requests

        32.    ERO oversees programs and conducts operations to identify and apprehend
removable aliens, to detain these individuals when necessary, and to remove illegal aliens from
the United States. ERO prioritizes the apprehension, arrest, and removal of convicted criminals,
those who pose a threat to national security, fugitives, recent border entrants, and aliens who thwart
immigration controls. ERO manages all logistical aspects of the removal process, including
domestic transportation, detention, alternatives to detention programs, bond management, and
supervised release.

        33.    When ERO receives a FOIA tasking from the ICE FOIA Office, the request is
submitted to ERO’s Information Disclosure Unit (IDU). A POC in IDU reviews the substance of
the request and based on the subject matter expertise and knowledge of the component offices’
activities within ERO, IDU determines whether it can search for records, or whether it is necessary

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to forward the FOIA request to specific individuals and component offices to conduct searches of
their files systems which in their judgement, based on their knowledge of the manner in which
they routinely keep records, would be reasonably likely to have responsive records, if any.

       34.     Upon receipt of the FOIA request in this case and based on the nature of the
Plaintiff’s FOIA Request, the ERO FOIA POC determined that the ERO Buffalo Field Office
should be tasked to conduct a search. On December 5, 2023, an Assistant Field Office Director
(AFOD) who oversees ERO operations at the Buffalo Federal Detention Facility in the ERO
Buffalo Field Office conducted a search of their Microsoft Outlook e-mail account using the search
terms, Mr. Doe’s name and A-Number.

       35.     In addition, on December 11, 2023, an AFOD in the ERO New York City Field
Office conducted a search of their computer files using search terms, Mr. Doe’s name and A-
Number. The ERO New York City Field Office AFOD also conducted a search of the Enforce
Alien Removal Module (EARM) database using Mr. Doe’s name. EARM is an application that
supports ICE’s processing and removal of noncitizens from the US and is used primarily as a case
management tool to track the status of removal proceedings.           The two AFODs located
approximately 160 pages of potentially responsive records, which were then produced to Plaintiff
in the final production dated March 14, 2024.

                           ORGANIZATION OF THE VAUGHN INDEX

       36.     Pursuant to the requirements set forth in Vaughn v. Rosen, 484 F.2d 820 (D.C. Cir.
1973), a Vaughn Index accompanies this declaration; the Vaughn Index provides a description of
each redaction and the corresponding FOIA exemption being applied.

       37.     The Vaughn index is in a table format. The first column contains the page numbers
of the responsive records. The second column describes the category of withholdings taken on the
documents (full or partial). The third column describes the underlying records and provides
justifications for the asserted exemptions. The fourth column describes the redaction codes, which
are citations to the sections of the FOIA Exemptions.




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       38.     The Vaughn index encompasses the responsive records found by the program
offices. The 294 pages of records were withheld from Plaintiff in part pursuant to FOIA
Exemption 5, 6, 7(C), and 7(E). Plaintiff has challenged the Exemption 5 and 7(E) withholdings.
A completed description of these documents, and the bases for the withholdings of information in
them, is detailed in ICE’s Vaughn index. The Vaughn index primarily encompasses email
exchanges between OPLA attorneys and the ERO Buffalo Field Office as well as draft documents.

       IV. DESCRIPTION OF FOIA WITHHOLDINGS APPLIED TO RECORDS
                        PROVIDED TO PLAINTIFFS

                       FOIA Exemption 5 U.S.C. § 552(b)(5) Threshold

       39.     Exemption 5 of the FOIA allows the withholding of inter- or intra-agency records
that are normally privileged in the civil discovery context. Pursuant to Exemption (b)(5), the
three most frequently invoked privileges are the deliberative process privilege, the attorney
work-product privilege, and the attorney-client privilege.

       40.     ICE withheld internal discussions and deliberations pertaining to the inadvertent
disclosure of Plaintiff’s information. These discussions occurred between OPLA attorneys, as
well as between OPLA attorneys and ICE ERO, wherein the OPLA and ERO employees make
recommendations, seek advice as to whether the disclosure was in violation of 8 C.F.R. § 208.6,
and discuss potential actions that should be taken in response to the disclosure. These discussions
are protected by the deliberative process privilege.

       41.     The deliberative process privilege protects the integrity of the deliberative or
decision-making processes within the agency by exempting from mandatory disclosure opinions,
conclusions, and recommendations included within inter-agency or intra-agency memoranda or
letters. The release of this internal information would discourage the expression of candid
opinions and inhibit the free and frank exchange of information among agency personnel. This
would result in a chilling effect on intra- and inter-agency communications. ICE employees must
be able to discuss proposed agency action freely. Further, if draft, un-finalized responses to
public inquiries and draft information regarding agency policies and enforcement actions were
released, the public could potentially become confused regarding ICE’s mission and enforcement


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activities, as well as what positions have actually been adopted by the agency. The types of
documents here include draft documents and emails containing pre-decisional opinions of
agency employees deliberating on what action the agency should take.

       42.     In addition to the deliberative process privilege, ICE withheld emails between
OPLA HQ and FLO attorneys and between OPLA and ERO under the attorney-client privilege.
This privilege protects the confidential communications between an attorney and his/her client
relating to a legal matter for professional advice. The types of documents withheld here under the
attorney-client privilege are email exchanges between ICE attorneys and other ICE components
where ICE attorneys provide confidential legal advice to their clients.

                       FOIA Exemption 5 U.S.C. § 552(b)(7) Threshold

       43.     5 U.S.C. § 552(b)(7) establishes a threshold requirement that, to withhold
information on the basis of any of its subparts, the records or information must be compiled for
law enforcement purposes.

       44.     The information for which the ICE FOIA Office asserted Exemption (b)(7) satisfies
this threshold requirement. Pursuant to the Immigration and Nationality Act, codified under Title8
of the U.S. Code, the Secretary of Homeland Security is charged with the administration and
enforcement of laws relating to the immigration and naturalization of aliens, subject to certain
exceptions. See 8 U.S.C. § 1103. ICE is the largest investigative arm of DHS and is responsible
for identifying and eliminating vulnerabilities within the nation’s borders. ICE is tasked with
preventing any activities that threaten national security and public safety by investigating the
people, money, and materials that support illegal enterprises.

       45.     The records and information at issue in this matter pertain to ICE’s obligation to
accurately portray the work it is doing to further its mission and to allow its employees to conduct
work in furtherance of the ICE mission. The records and information at issue in this matter pertain
to ICE’s obligation to enforce the immigration laws of the United States by investigating non-U.S.
individuals who may be present in the United States illegally, including records of interviews,
arrests, bookings, detentions, removals, other related investigations, and investigations of
allegations of misconduct. In keeping records related to law enforcement techniques, ICE is acting

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in the interest of its employees who are working to ensure that these policies are enacted, that they
are fair and that they provide the greatest level of safety to the public and to ICE employees. The
records and information located within this internal database in response to Plaintiffs’ FOIA
requests were collected, compiled, accessed, and queried for by ICE law enforcement officers
advancing law enforcement missions. Therefore, the records and information located in response
to the FOIA requests were compiled for law enforcement purposes and meet the threshold
requirement of FOIA Exemption 7.

                                    Exemption 5 U.S.C. § 552(b)(7)(E)

        46.     FOIA Exemption 7(E), 5 U.S.C. § 552(b)(7)(A), protects from disclosure records

or information compiled for law enforcement purposes, that would disclose techniques and

procedures for law enforcement investigations or prosecutions or would disclosure guidelines for

law enforcement investigations or prosecutions is such disclosure could reasonably be expected

to risk circumvention of the law.

       47.      Here, ICE has applied Exemption 7(E) to law enforcement sensitive information,

specifically law enforcement codes contained in screenshots of databases. The information

redacted is a screenshot of the EARM database, which is a software application that supports

ICE’s processing and removal of noncitizens from the United States and used primarily as a case

management tool to track the status of removal proceedings. It includes specific information

regarding a noncitizen’s detention and removal, including, but not limited to, specifics about bed

location, transfers, and travel times.

       48.      This type of information is utilized for law enforcement purposes as it is in

furtherance of ICE’s obligation to enforce the immigration laws of the United States by

conducting removal operations and ensuring that these operations are not hindered by actions of

bad actors who may obtain access to confidential law enforcement sensitive information and

intelligence.

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        49.     The release of this information could reveal techniques and/or procedures for law

enforcement investigations or prosecutions or disclose guidelines for law enforcement

investigations or prosecutions which could reasonably be expected to risk circumvention of the

law. Disclosure of this information could assist third parties in deciphering the meanings of the

codes and/or, with ICE-specific intranet URLs, could enable an individual to navigate, alter,

and/or manipulate law enforcement databases and email systems were they to gain access to the

system.

        50.     This information, used for the purpose of indexing, storing, locating, and

retrieving law enforcement sensitive information is not commonly known and could also be used

to decipher the meaning of codes, navigate within the law enforcement system, and compromise

the integrity of the data either by allowing for the deletion or alteration of information.

Disclosure of these techniques and practices in navigating the databases could assist bad actor

seeking to violate or circumvent the law by taking proactive steps to counter operational and

investigative actions taken by ICE during enforcement operations by granting improper access to

the proprietary EARM database.

        51.     Further, how law enforcement officers access databases are law enforcement

techniques and procedures that are not commonly known. The disclosure of this information

serves no public benefit and would not assist the public in understanding how the agency is

carrying out its statutory responsibilities.


                                       V. SEGREGABILITY

        52.     5 U.S.C. § 552(b) requires that “[a]ny reasonably segregable portion of a record
shall be provided to any person requesting such record after deletion of the portions which are
exempt.”


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       53.     A line-by-line review was conducted to identify information exempt from
disclosure or for which a discretionary waiver of exemption could be applied.

       54.     With respect to the records that were released in part, all information not exempted
from disclosure pursuant to the FOIA exemptions specified above was correctly segregated and
non-exempt portions were released.

I declare under penalty of perjury that the forgoing is true and correct to the best of my knowledge
and belief.

Signed this ____ day of August 2024.

                              FERNANDO         Digitally signed by FERNANDO
                              ___________________________________
                                               PINEIRO JR
                              PINEIRO JR       Date: 2024.08.29 09:54:02 -04'00'


                              Fernando Pineiro, FOIA Director
                              Freedom of Information Act Office
                              U.S. Department of Homeland Security
                              U.S. Immigration and Customs Enforcement
                              500 12th Street, S.W., Stop 5009
                              Washington, DC 20536-5009




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